UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK
x

E. Jean Carroll,
Plaintiff, 22 CIVIL 10016 (LAK)

-against- JUDGMENT

Donald J, Trump,

Defendant.

It is hereby ORDERED, ADJUDGED AND DECREED: That after a Jury

‘Trial before the Honorable Lewis A. Kaplan, United States District Judge, Plaintiff E. Jean
Carroll has judgment against the defendant Donald J. Trump in the sum of $2,000,000.00 for
injuries; $20,000.00 in punitive damages; $1,000,000.00 for damages other than the reputation
repair program; $1,700,000.00 for damages for the reputation repair program; and $280,000.00
in punitive damages; accordingly, the case is closed.

DATED: New York, New York
May {] , 2023
RUBY J. KRAJICK

So Ordeyed: Clerk of Court
it Lal BY: K, (TANGO
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U.S.D.J. Deputy Clerk

